                  Case 23-10316-BLS              Doc 22      Filed 03/20/23         Page 1 of 10




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


RAC INVESTMENT HOLDINGS, LLC, et al. 1,                              Chapter 7

                                   Debtors.                          Case No. 23-10316 (BLS)
                                                                     (Jointly Administered)


DONNON JOHNSON and ANTOINIQUE
RANDOLPH, on behalf of themselves and all
others similarly situated,
                                                                     Adv. Proc. No.
                                   Plaintiffs,

                 v.

RAC INVESTMENT HOLDINGS, LLC, RAC
KING, LLC, RAC DEALERSHIP, LLC, RAC
INTERMEDIATE HOLDINGS, LLC, RAC
SERVICER, LLC, and RAC ASSET HOLDINGS,
LLC,


                                   Defendants.


                  CLASS ACTION ADVERSARY PROCEEDING COMPLAINT
                  FOR VIOLATION OF WARN ACT 29 U.S.C. § 2101, ET SEQ.

          Plaintiffs Donnon Johnson and Antoinique Randolph (“Plaintiffs”) allege on behalf of

 themselves and a putative class of similarly situated former employees of RAC Investment

 Holdings, LLC, RAC King, LLC, RAC Dealership, LLC, RAC Intermediate Holdings, LLC, RAC

 Servicer, LLC, and RAC Asset Holdings, LLC (“Defendants”) by way of this Class Action

 Adversary Proceeding Complaint against Defendants as follows:



 1
  The debtors in these cases, along with the last four digits of the federal tax identification number for each of the
 debtors, where applicable are: RAC Investment Holdings, LLC (7349); RAC King, LLC (6605); RAC Dealership,
 LLC (3862); RAC Intermediate Holdings, LLC (4792); RAC Servicer, LLC (3735); and RAC Asset Holdings, LLC
 (8701).
              Case 23-10316-BLS        Doc 22        Filed 03/20/23   Page 2 of 10




                                  NATURE OF THE ACTION

       1.     Plaintiffs bring this action on behalf of themselves and other similarly situated

former employees who worked for Defendants and who were terminated without cause as part of,

or as the result of, mass layoff and/or plant closing ordered by Defendants on or about February

24, 2023, who were not provided 60 days advance written notice of their terminations by

Defendants, as required by the Worker Adjustment and Retraining Notification Act, 29 U.S.C. §

2101 et seq., (the “WARN Act”).

       2.     Plaintiffs were terminated along with approximately 288 other similarly situated

employees as part of, or as the foreseeable result of a mass layoff or plant closing ordered by

Defendants during the 30-day period beginning February 24, 2023.

       3.      Defendants failed to give Plaintiffs and other similarly situated employees of

Defendants at least 60 days’ advance notice of their terminations, as required by the WARN Act.

Plaintiffs and other similarly situated employees of Defendants seek their statutory remedies,

pursuant to 29 U.S.C. § 2104.

                                JURISDICTION AND VENUE

       4.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334,

and 29 U.S.C. § 2104(a)(5).

       5.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (O).

       6.     Venue is proper in this District pursuant to 28 U.S.C. § 1409 and 29 U.S.C. §

2104(a)(5).

                                       THE PARTIES

 Plaintiffs

       7.     Plaintiff Donnon Johnson was employed by Defendants as a collections manager

from January 3, 2017, until February 24, 2023.
                                                 2
               Case 23-10316-BLS         Doc 22       Filed 03/20/23      Page 3 of 10




       8.      Plaintiff Antoinique Randolph was employed by Defendants as an account manager

from September 2021 until February 24, 2023.

       9.      Plaintiffs are both residents of the state of Tennessee.

       10.     Upon information and belief, at all relevant times, Plaintiffs worked at Defendants’

headquarters located at 6775 Lenox Center Court, Memphis, Tennessee.

       11.     On or about February 24, 2023, Plaintiffs were notified of their terminations

effective immediately.

       12.     On February 24, 2023, Plaintiffs and other similarly situated employees received

an email from Noah Hogan, who is identified therein as CEO of RAC Servicer, LLC, RAC King,

LLC, and RAC Dealership, LLC (collectively, “RAC” or the “Company”), titled “Notice of

Closing and Layoff” in which they were informed that effective immediately, they were terminated

from their employment.

       13.     At no time prior to February 24, 2023, did Plaintiffs receive written notice that their

employment would be terminated.

       14.     Plaintiffs were both terminated without cause.

       15.     Along with Plaintiffs, an estimated 288 other employees of Defendants who worked

at, reported to, or received assignments from facilities operated by Defendants were terminated on

or about February 24, 2023, without 60 days’ advance written notice.

Defendants

       16.     Upon information and belief and at all relevant times, Defendants operate a

company engaged in the used car business throughout the United States under the name “American

Car Center.”

       17.     Upon information and belief and at all relevant times, Defendants operate a



                                                  3
                Case 23-10316-BLS        Doc 22       Filed 03/20/23   Page 4 of 10




business that provides sub-prime consumers used cars along with a financing arm that allows

consumers to lease the vehicles.

          18.   Debtors RAC Investment Holdings, LLC, RAC King, LLC, RAC Dealership, LLC,

RAC Intermediate Holdings, LLC, RAC Servicer, LLC and RAC Asset Holdings, LLC are

“affiliates” as that term is defined under section 101(2) of the Bankruptcy Code.

          19.   Upon information and belief and at all relevant times, Defendants maintained a

facility at 6400 Winchester Road, Memphis, Tennessee and 114 West Fort Street, Manchester,

Tennessee, where they did business as American Financial Inc., a lending arm of American Car

Center.

          20.   Upon information and belief and at all relevant times, the facilities Defendants

operated at 6775 Lenox Center Court and 6400 Winchester Road, Memphis, Tennessee

(cumulatively, the “Facility”) each employed more than 50 full time employees at the time of the

closing

          21.   Upon information and belief and at all relevant times, Defendants are owned by

York Capital Management, LLC.

          22.   At all relevant times, Defendants conducted business in this district.

          23.   On March 17, 2023, Defendants each filed a voluntary petition for relief under

Chapter 7 of Title 11 the United States Bankruptcy Code in this Court.

          24.   By Order of the Court dated March 17, 2023 (D.I. 14), the bankruptcy cases are

being jointly administered under Bankruptcy Case Number 23-10316.

                   REPRESENTATIVE AND CLASS ACTION ALLEGATIONS

          25.   Plaintiffs bring this representative action pursuant to 29 U.S.C. § 2104(a)(5), suing

“for” themselves and all other similarly situated former employees.



                                                  4
              Case 23-10316-BLS          Doc 22       Filed 03/20/23   Page 5 of 10




       26.     Plaintiffs bring this claim for relief for violation of 29 U.S.C. § 2101 et seq.,

individually and on behalf of all other similarly situated former employees, pursuant to the Federal

Rules of Civil Procedure, Rule 23(a) and (b), who worked at, received assignments from, or

reported to the Facility, who were terminated without cause during the 30-day period beginning

February 24, 2023 or were terminated without cause as the reasonably foreseeable consequence of

the mass layoff and/or plant closing ordered by Defendants during the 30-day period beginning

February 24, 2023 and who are affected employees, within the meaning of 29 U.S.C. § 2101(a)(5)

(the “WARN Class”).

       27.     The persons in the WARN Class identified above (“WARN Class Members”) are

so numerous that joinder of all members is impracticable. Although the precise number of such

persons is unknown, it is estimated at about 288 individuals. On information and belief, the facts

on which the calculation of that number can be based are presently within the sole control of

Defendants.

       28.     On information and belief, the identity of the members of the class and the recent

residence address of each of the WARN Class Members is contained in Defendants’ books and

records.

       29.     On information and belief, the rate of pay and benefits that were being paid by

Defendants to each WARN Class Member at the time of his/her termination is contained in the

books and records of Defendants.

       30.     Common questions of law and facts exist as to members of the WARN Class,

including, but not limited to, the following:

               (a)   whether the members of the WARN Class were employees of Defendants
               who worked at, received assignments from, or reported to the Facility;




                                                  5
               Case 23-10316-BLS             Doc 22       Filed 03/20/23   Page 6 of 10




               (b)    whether Defendants unlawfully terminated the employment of the
               members of the WARN Class without cause on their part and without giving them
               60 days advance written notice in violation of the WARN Act;

               (c)    whether Defendants unlawfully failed to pay the WARN Class members
               60 days wages and benefits as required by the WARN Act; and

               (d) whether Defendants, as a single employer, violated the WARN Act.

       31.     Plaintiffs’ claims are typical of those of the WARN Class. Plaintiffs, like other

WARN Class members, worked at, received assignments from, or reported to the Facility and were

terminated without cause during the 30-day period beginning February 24, 2023 due to the mass

layoff and/or plant closing ordered by Defendants.

       32.     At all relevant times, Defendants was an “employer,” as that term is defined in 29

U.S.C. § 2101 (a)(1) and 20 C.F.R. § 639(a) and continued to operate as a business until

Defendants decided to order a mass layoff or plant closing at the Facility.

       33.     Plaintiffs will fairly and adequately protect the interests of the WARN Class.

Plaintiffs have retained counsel competent and experienced in complex class actions, including the

WARN Act and employment litigation.

       34.     Class certification of these claims is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and facts common to the WARN Class predominate over questions

affecting only individual members of the WARN Class, and because a class action is superior to

other available methods for the fair and efficient adjudication of this litigation – particularly in

the context of WARN Act litigation, where individual plaintiff may lack the financial resources to

vigorously prosecute a lawsuit in federal court against a corporate Defendants, and damages

suffered by individual WARN Class members are small compared to the expense and burden of

individual prosecution of this litigation.

       35.     Concentrating all the potential litigation concerning the WARN Act rights of the

                                                      6
                Case 23-10316-BLS        Doc 22       Filed 03/20/23    Page 7 of 10




members of the Class in this Court will obviate the need for unduly duplicative litigation that might

result in inconsistent judgments, will conserve the judicial resources and the resources of the

parties and is the most efficient means of resolving the WARN Act rights of all the members of

the Class.

          36.   The relief sought in this proceeding is equitable.

          37.   Plaintiffs intend to send notice to all members of the WARN Class to the extent

required by Rule 23.

                              CLAIM FOR RELIEF
                VIOLATION OF THE WARN ACT, 29 U.S.C. § 2104 ET SEQ.

          38.   Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs.

          39.   At all relevant times, Defendants employed more than 100 employees who in the

aggregate worked at least 4,000 hours per week, exclusive of hours of overtime, within the United

States.

          40.   At all relevant times, Defendants was an “employer,” as that term is defined in 29

U.S.C. § 2101 (a)(1) and 20 C.F.R. § 639(a) and continued to operate as a business until it decided

to order a mass layoff or plant closing at the Facility.

          41.   At all relevant times, Plaintiffs and the other similarly situated former employees

were employees of Defendants as that term is defined by 29 U.S.C. §2101.

          42.   During the 30-day period beginning February 24, 2023, Defendants ordered mass

layoff or plant closing at the Facility, as that term is defined by 29 U.S.C. § 210l(a)(2).

          43.   The mass layoff or plant closing at the Facility resulted in “employment losses,” as

that term is defined by 29 U.S.C. §2101(a)(2) for at least fifty of Defendants’ employees as well

as thirty-three percent of Defendants’ workforce at the Facility, excluding “part-time employees,”

                                                  7
              Case 23-10316-BLS          Doc 22       Filed 03/20/23   Page 8 of 10




as that term is defined by 29 U.S.C. § 2l01(a)(8).

       44.     Plaintiffs and the Class Members were terminated by Defendants without cause on

their part, as part of or as the reasonably foreseeable consequence of the mass layoff or plant

closing ordered by Defendants at the Facility.

       45.     Plaintiffs and the Class Members are “affected employees” of Defendants, within

the meaning of 29 U.S.C. § 2101(a)(5).

       46.     Defendants was required by the WARN Act to give Plaintiffs and the Class

Members at least 60 days advance written notice of their terminations.

       47.     Defendants failed to give Plaintiffs and the Class members written notice that

complied with the requirements of the WARN Act.

       48.     Plaintiffs and each of the Class Members are “aggrieved employees” of the

Defendants as that term is defined in 29 U.S.C. § 2104(a)(7).

       49.     Defendants failed to pay Plaintiffs and each of the Class Members their respective

wages, salary, commissions, bonuses, health and life insurance premiums, accrued holiday pay

and accrued paid time off for 60 days following their respective terminations, and failed to provide

employee benefits including health insurance, for 60 days from and after the dates of their

respective terminations.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all other similarly situated persons,

prays for the following relief as against Defendants:

       A.      Certification of this action as a class action;

       B.      Designation of Plaintiffs as Class Representatives;

       C.      Appointment of the undersigned attorneys as Class Counsel;



                                                  8
           Case 23-10316-BLS        Doc 22       Filed 03/20/23    Page 9 of 10




     D.    A judgment in favor of Plaintiffs and each of the affected employees equal to the

           sum of: their unpaid wages, salaries, commissions, bonuses, accrued holiday pay,

           accrued vacation pay, pension and 401(k) contributions and other ERISA benefits,

           for up to 60 days, that would have been covered and paid under the then-applicable

           employee benefit plans had that coverage continued for that period all determined

           in accordance with the WARN Act, 29 U.S.C. §2104(a)(1)(A), with the first

           $15,150.00 of each Class member’s allowed claim entitled to wage priority claim

           treatment under 11 U.S.C. § 507(a)(4) and (5), and any remainder as a general

           unsecured claim and the remainder as a general unsecured claim.

     E.    An allowed administrative priority claim against Debtors under 11 U.S.C. § 503 for

           the reasonable attorneys’ fees and the costs and disbursements that Plaintiffs incur

           in prosecuting this action, as authorized by the WARN Act, 29 U.S.C. § 2104(a)(6);

     F.    Interest as allowed by law on the amounts owed under the preceding paragraphs;

           and

     G.    Such other and further relief as this Court may deem just and proper.

Dated: March 20, 2023

                                         Respectfully submitted,

                                   By:   /s/ Christopher D. Loizides
                                         Christopher D. Loizides (No. 3968)
                                         LOIZIDES, P.A.
                                         1225 King Street, Suite 800
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 654-0248
                                         Facsimile: (302) 654-0728
                                         E-mail: loizides@loizides.com




                                             9
              Case 23-10316-BLS         Doc 22    Filed 03/20/23   Page 10 of 10




OF COUNSEL:

Jack A. Raisner
René S. Roupinian
RAISNER ROUPINIAN LLP
270 Madison Avenue, Suite 1801
New York, New York 10016
Telephone: (212) 221-1747
Facsimile: (212) 221-1747
Email: rsr@raisnerroupinian.com
Email: jar@raisnerroupinian.com

Attorneys for Plaintiffs and putative class




                                                 10
